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successor-in-interest to BP Oil Supply Company


                       IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF ALASKA AT ANCHORAGE


PETRO STAR INC.,                                )   Case No.: 3:11-cv-00064 RRB
                                                )
                     Plaintiff,                 )
                                                )   DEFENDANT BP PRODUCTS NORTH
       vs.                                      )   AMERICA INC.’S MOTION FOR
                                                )   SUMMARY JUDGMENT
BP OIL SUPPLY CO., BP PRODUCTS                  )
NORTH AMERICA INC.,                             )
                                                )
                     Defendants.                )
                                                )




DEFENDANT BP PRODUCTS NORTH AMERICA INC.’S MOTION FOR SUMMARY JUDGMENT
Petro Star v. BP Oil Supply Co., BP Products North America Inc.
Case No. 3:11-cv-00064 RRB                                                        32185072
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       Defendant BP Products North America Inc., successor-in-interest to BP Oil Supply

Company, hereby moves for summary judgment, pursuant to Federal Rule of Civil Procedure 56,

in its favor against plaintiff Petro Star Inc. on all of plaintiff’s claims. This motion is supported

by the accompanying memorandum, the declaration of S. Albert Wang, and the exhibits attached

to the Wang declaration.



Dated: September 28, 2012.                          ARNOLD & PORTER LLP
                                                    Attorneys for Defendant


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DEFENDANT BP PRODUCTS NORTH AMERICA INC.’S MOTION FOR SUMMARY JUDGMENT
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CERTIFICATE OF SERVICE

I hereby certify that on September 28, 2012,
a copy of the foregoing document,
DEFENDANT BP PRODUCTS NORTH
AMERICA INC.’S MOTION FOR SUMMARY
JUDGMENT was served electronically on:

      Parker C. Folse, III
      Bruce A. Moore
      Floyd G. Short
      Genevieve Vose

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By: s/James F. Speyer




DEFENDANT BP PRODUCTS NORTH AMERICA INC.’S MOTION FOR SUMMARY JUDGMENT
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